     Case:04-08545-SEK7 Doc#:19 Filed:03/31/05 Entered:03/31/05 13:40:43         Desc:
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 1
                           IN THE UNITED STATES BANKRUPTCY COURT FOR
 2                                THE DISTRICT OF PUERTO RICO
 3
      IN THE MATTER OF:
 4
      JOHNNY   PEREZ SANCHEZ                    CASE NO. 04-08545 SEK
 5
      DAYSI MARILYN   GONZALEZ DIAZ             Chapter 7
 6
      XXX-XX-9416
 7
      XXX-XX-0377                               FILED & ENTERED ON 03/31/2005
 8
                      Debtor(s)
 9

10                                    DISCHARGE OF DEBTOR

11         It appearing that the debtor is entitled to a discharge, IT IS ORDERED:    The

12   debtor is granted a discharge under section 727 of title 11, United States Code,

13   (the Bankruptcy Code).

14          San Juan, Puerto Rico, this March 31, 2005.

15

16                                                             BY THE COURT

17

18
                                                            SARA E. DE JESUS KELLOG
19                                                           U.S. Bankruptcy Judge

20
     cc:   all creditors
21

22
                 SEE SECOND PAGE OF THIS ORDER FOR IMPORTANT INFORMATION
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 1   Case:04-08545-SEK7 Doc#:19 Filed:03/31/05 Entered:03/31/05 13:40:43       Desc:
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                EXPLANATION OF BANKRUPTCY   2 of 2
                                          DISCHARGE IN A CHAPTER 7 CASE
 2
         This court order grants a discharge to the person named as the debtor. It is
 3   not a dismissal of the case and it does not determine how much money, if any, the
     trustee will pay to creditors.
 4
     Collection of Discharged Debts Prohibited
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          The discharge prohibits any attempt to collect from the debtor a debt that
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     has been discharged. For example, a creditor is not permitted to contact a
     debtor by mail, phone, or otherwise, to file or continue a lawsuit, to attach
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     wages or other property, or to take any other action to collect a discharged debt
     from the debtor. [In a case involving community property:] [There are also
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     special rules that protect certain community property owned by the debtor's
     spouse, even if that spouse did not file a bankruptcy case.] A creditor who
 9
     violates this order can be required to pay damages and attorney's fees to the
     debtor.
10
          However, a creditor may have the right to enforce a valid lien, such as a
11
     mortgage or security interest, against the debtor's property after the
     bankruptcy, if that lien was not avoided or eliminated in the bankruptcy case.
12
     Also, a debtor may voluntarily pay any debt that has been discharged.
13
     Debts That are Discharged
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          The chapter 7 discharge order eliminates a debtor's legal obligation to pay
     a debt that is discharged. Most, but not all, types of debts are discharged if
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     the debt existed on the date the bankruptcy case was filed. (If this case was
     begun under a different chapter of the Bankruptcy Code and converted to chapter
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     7, the discharge applies to debts owed when the bankruptcy case was converted.)
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     Debts that are Not Discharged
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          Some of the common types of debts which are not discharged in a chapter 7
     bankruptcy case are:
19
              a. Debts for most taxes;
20
              b. Debts that are in the nature of alimony, maintenance or support;
21
              c. Debts for most student loans;
22
              d. Debts for most fines,       penalties,   forfeitures,   or    criminal
23
                 restitution obligations;
24
              e. Debts for personal injuries or death caused        by   the   debtor’s
                 operation of a motor vehicle while intoxicated;
25
              f. Some debts which were not properly listed by the debtor;
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              g. Debts that the bankruptcy court specifically has decided or will
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                 decide in this bankruptcy case are not discharged;
28
              h. Debts for which the debtor has given up the discharge protections by
                 signing a reaffirmation agreement in compliance with the Bankruptcy
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                 Code requirements for reaffirmation of debts.
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          This information is only a general summary of the bankruptcy discharge.
     There are exceptions to these general rules. Because the law is complicated,
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     you may want to consult an attorney to determine the exact effect of the
     discharge in this case.
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